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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                             (Jointly Administered)
                                    1
                         Debtors.
                                                             Re Docket Nos. 695, 1388, 1450,1460,1463,
                                                             1478


         CORRECTED2 OMNIBUS REPLY OF THE COALITION OF ABUSED
           SCOUTS FOR JUSTICE TO OBJECTIONS TO MOTION FOR
       ORDER PERMITTING FILING OF PROOF OF CLAIM FORMS SIGNED
     BY AUTHORIZED COUNSEL IN ACCORDANCE WITH BANKRUPTCY CODE
    SECTIONS 501 AND 502, BANKRUPTCY RULE 3001, AND OFFICIAL FORM 410

         The Coalition of Abused Scouts for Justice (the “Coalition”), by its undersigned counsel,

hereby submits this omnibus Reply to the objections3 to Motion for Order Permitting Filing of

Proof of Claim Forms Signed by Authorized Counsel in Accordance with Bankruptcy Code

Sections 501 and 502, Bankruptcy Rule 3001, and Official Form 410 (the “Motion”) [Docket

No. 1388].4 In support of this Reply and the Motion, the Coalition respectfully states as follows:

1
   The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
   number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
   address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  This corrects the quote for Rule 3001(b) to insert the word “shall” in place of the word “may”.
3
   Objections to the Motion were filed by the Official Committee of Tort Claimants (the “TCC”) [Docket No. 1465]
   (the “TCC Objection”), Century et al. (“Century”) [Docket No. 1463] (the “Century Objection”), Hartford
   Accident and Indemnity Company, First State Insurance Company and Twin City Fire Insurance Company
   (collectively, “Hartford”) [Docket No. 1460] (the “Hartford Objection”), and the Debtors [Docket No. 1478-1]
   (the “Debtors’ Objection”). The foregoing objections are referred to herein collectively as the “Objections.”
   Century and Hartford are referred to herein as the “Insurers.” A response to the Motion was also filed by the
   United States Trustee (the “U.S. Trustee”) [Docket No. 1424] (the “U.S. Trustee Response”).
4
   Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion or in
   the Order, Pursuant to 11 U.S.C. § 502(B)(9), Bankruptcy Rules 2002 and 3003(C)(3), and Local Rules 2002-
   1(E), 3001-1, and 3003-1, (I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
   Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date and Other Important
   Information to Abuse Survivors, and (IV) Approving Confidentiality Procedures for Abuse Survivors [D.I. 695]
   (the “Bar Date Order”).



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                               PRELIMINARY STATEMENT

         1.     The TCC, the Insurers, and the Debtors assert that the Bar Date Order generally

prohibits Sexual Abuse Survivor Proofs of Claim from being executed by authorized counsel.

The TCC, the Insurers, and the Debtors all contend that they were aware of this when the Bar

Date Order was offered to the Court and entered, and that this intentional violation of

Rule 3001(b) was the product of negotiations among them.

         2.     The TCC further asserts that changing the Bar Date Order to permit authorized

counsel to sign claim forms would constitute a “material change.” TCC Objection at ¶ 22. By

simple and indisputable implication, this means that the TCC knew that changing Official

Form 410 to preclude authorized counsel from signing was not a “minor change” and, therefore,

violated Rule 3001(b) and Rule 9009(a), as amended in 2017. The TCC, the Insurers, and the

Debtors do not cite any authority demonstrating (let alone indicating) that Rule 3001(b) can be

negated. Rather, their position is that nothing should be done now to bring the Bar Date Order

into compliance with Bankruptcy Rule 3001(b).

         3.     The issue is whether the TCC’s, the Insurers’ and the Debtors’ violation of

Rule 3001(b) and Rule 9009(a) was adequately disclosed. The answer appears to be “no.”

         4.     The U.S. Trustee asked the Coalition to withdraw the Motion soon after it was

filed stating: “[I]t would appear that the relief sought in your [M]otion already exists and the

Motion should be withdrawn as unnecessary and moot. The form is consistent with the Rules,

Official Form 410 and the local rules.” See Mersky Decl. at Ex. 1. The U.S Trustee also stated

that “the approved POC permits signature by the claimant’s legal representative. … The only

requirement for a filing by a claimant’s legal representative, set forth in the form, is: (Any form

signed by a representative or legal guardian must attach documentation establishing such

person’s authority to sign this form for the Sexual Abuse Survivor.)” Id. The U.S. Trustee,


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however, now states that providing clarity on this issue would be “helpful to the overall

administration of the estate.” U.S. Trustee Response at 2. There is no evidence that the TCC,

the Insurers or the Debtors directly and clearly apprised the U.S. Trustee of their intent to negate

Rule 3001(b) in these Chapter 11 Cases, thereby making it more difficult for Sexual Abuse

Survivors to file proofs of claim.

         5.     Indeed, the transcript for the hearing held before the Court on May 18, 2020

indicates that the TCC, the Insurers, and the Debtors never advised the Court of their intent to

override Rule 3001(b). May 18th Hr’g Tr. at 48:20-51:6-9. In fact, the statements made by the

TCC’s counsel and the Court indicated precisely the opposite—the expectation was that the Bar

Date Order would not violate or be inconsistent with Bankruptcy Rule 3001 or section 502 of the

Bankruptcy Code.

         6.     When the Coalition filed its Motion, it hoped that the relief sought would not be

controversial. Nearly every trade creditor and bondholder that files proofs of claim in cases

pending in this District has the right to submit claims signed by authorized counsel. Why should

victims of sexual abuse be denied a right that the Bankruptcy Rules explicitly recognizes,

particularly during a global pandemic? The Coalition also hoped that the TCC would indicate

that the violation of Rule 3001(b) was not intentional and support the Motion.

         7.     The TCC, the Insurers, and the Debtors have now made it abundantly clear that

precluding authorized counsel from signing Sexual Abuse Survivor Proofs of Claim was an

intentional and material change to the claim form—i.e., this is what they intended all along. This

Court plainly has the authority to remedy the violation of Rule 3001(b) and Rule 9009(a) and

should do so to protect the rights of Sexual Abuse Survivors and uphold the fair and just

application of the Bankruptcy Rules in these Chapter 11 Cases.




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                                              REPLY

         A.     The Civil Rules Permits the Court to Remedy the Rule 3001(b) Violation

         8.     The TCC and Century argue that correcting the Rule 3001(b) violation now would

be improper under Civil Rule 60(b). TCC Objection at ¶ 3; Century Objection at 9. Hartford

makes the same argument but invokes Civil Rule 59(e) instead. Hartford Objection at ¶¶ 18-19.

         9.     Civil Rule 60(b), as made applicable by Bankruptcy Rule 9024, provides that the

Court may relieve a party or its legal representatives from a final order or an order based on

“mistake,” “misrepresentation,” or “any other reason that justifies relief.” Fed. R. Civ. P. 60(b).

“The power of a court to invoke Rule 60(b) to vacate its own earlier judgment is unquestioned.”

In re Energy Future Holdings Corp., 575 B.R. 616, 630 (Bankr. D. Del. 2008) (quoting Budget

Blinds, Inc. v. White, 536 F.3d 244, 251 (3d Cir. 2008)). “Bankruptcy courts, as courts of equity,

have the power to reconsider, modify, or vacate their previous orders so long as no intervening

rights have become vested on the orders.” In re G-I Holdings, Inc., 472 B.R. 263, 278 (Bankr.

D. N.J. 2012). Here, the Bar Date has not passed, and no claim objections have been filed on the

basis that an attorney executed a proof of claim.

         10.    The “critical issue” is whether the Court misunderstood the facts supporting the

entry of the order in question. Id. at 631. For example, in Energy Future, the Court entered an

order approving a “Termination Fee” in connection with a proposed transaction. Id. The Court

subsequently overturned this order because it had “a fundamental misunderstanding of the

critical facts” when it approved the Termination Fee, and “if the Court had understood these

critical facts” it would have ruled differently. Id. at 632-33.

         11.    The Court noted in that “[d]espite the Court’s direct question as to whether the

Termination Fee would be payable if the PUCT [Public Utility Commission of Texas] declined

to approve the … Transaction, the record [was] incomplete and confusing on that fundamental

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point.” Id. at 632. The Court further noted that “[d]espite the obvious confusion” on this point

“neither the Debtors” nor the relevant parties “sought to clarify the record” and “affirmatively

state[d]” that the purchaser “would receive the Termination Fee if the Debtors terminated the

Merger Agreement.”       Id.   The Court held that “the critical issue is whether the court

misapprehended the facts, not whether the record may be complete” as to the issue. Id. at 631.

         12.    Further, as was the case during the May 18th Bar Date Motion hearing in this

case, “no facts were sufficiently drawn to the Court’s attention such that the Court might have

realized the point on its own accord.” Id. at 633. “More was required by the Debtors and [other

parties] in order for them to rely on the record to refute the Court’s own misunderstanding—

whether justified or not.” Id. at 633.

         13.    Other Courts have similarly decided that failure to disclose material information

to the Court is grounds to vacate orders under Civil Rule 60(b). See, e.g., In re eToys, Inc., 331

B.R. 176, 188 (Bankr. D. Del. 2005) (vacating previous orders under Rule 60(b)(6) in part due to

failure of opposing party to make certain mandatory disclosures to the Court); see also In re

Lewis Rd., LLC, No. 09-37672, 2011 WL 6140747, at *14 (Bankr. E.D. Va. Dec. 9, 2011)

(amending order under Rules 60(b)(3) and 60(b)(6) due to misrepresentations and failures to

disclose of attorneys who were ordered compensation by the Court). Section 105(a) of the

Bankruptcy Code also gives the Court the power to “issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of [title 11].” 11 U.S.C. § 105(a).

                1.     Lack of Notice to All Sexual Abuse Survivors

         14.    As a thresholder matter, Rule 60(b) applies to parties to a final judgment or an

order. The Bar Date Motion [Docket No. 18] was clearly not noticed on all parties in these

cases, including Sexual Abuse Survivors that retained counsel after February 18, 2020—the date




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the Debtors filed the Bar Date Motion—and clients of Law Firms that are not identified in

Paragraph 51 of the Bar Date Motion as having been provided notice.

        15.     The only Law Firms identified in the Affidavit of Service filed in respect of the

Bar Date Motion that are now or have been part of the Coalition are “AVA Law Group” and

“Kosnoff Law.”       See Docket No. 46.    Junell & Associates Law Firm, PLLC, Krause and

Kinsman, LLC, Marc J. Bern & Partners LLP, Motley Rice LLC, Napoli Shkolnik PLLC, Reich

& Binstock, LLP, and Slater Slater Schulman LLP, who collectively represent over 17,000 sexual

abuse victims, are not identified. Id. Nor are they identified on the Affidavit of Service for the

Notice of Filing of Further Revised Bar Date Order. See Docket Nos. 667 & 676. The Debtors’

notice argument that all Coalition Members received adequate notice because a few Law Firms

were served when the majority were not is unsound.

         16.    The fact that a few Law Firms that are or were part of the Coalition received

notice of the Bar Date Motion and the fact that notice has been given of the Bar Date itself is

beside the point. The Debtors position is that all Sexual Abuse Survivors should be denied the

right to have legal counsel speak on their behalf based on a motion that was not served on all

known or reasonably knowable Sexual Abuse Survivors.

                2.      The Court May Grant Relief under Civil Rule 60(b)

         17.    Assuming, arguendo, that notice was given sufficient to strip all Sexual Abuse

Survivors of their right to have authorized counsel sign their proofs of claim on their behalf

(which is not the case), the Court should still grant relief under Civil Rule 60(b) given the

confusion over whether the form of order was intended to comply with Rule 3001 and

section 502 of the Bankruptcy Code.

         18.    The TCC, the Insurers and the Debtors contend that there was no mistake.

Rather, they contend that they negotiated and knowingly agreed to a claim form that violates and

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is materially inconsistent with Rule 3001(b) and Rule 9009(a). But this is wholly at odds with

the representations made to the Court at the May 18th hearing on the Bar Date Motion.

         19.    Counsel for the TCC stated:

                Your Honor, a rose is a rose is a rose. The proof of claim is a proof of
                claim is a proof of claim. The proof of claim has certain impacts and
                consequences and the Code and the Rules tell us what those are. Your
                claim is allowed, unless it is objected to. And Rule 3001 says its prima
                facie evidence. And I don’t know how an order changes what the rule
                says a proof of claim is or changes what the Code says is in terms of
                allowance.

                                                    ***

                These are proof of claim. And they are requirements as to the content –
                we’ll get to that. We’re not having that discussion at the moment. This is
                as to the impact. And I just simply do not understand how someone
                through an order, proposed order, can wipe out a specific section of the
                Bankruptcy Code and a specific statement in the Rules of Bankruptcy
                Procedure.

                                                    ***

                And as I’ve told you at the beginning of the first day hearing, I’ve done a
                lot of these. And in every case, we have had a special proof of claim form
                because we acknowledged the needs of the other parties – and, honestly,
                Judge, even from the tort claimant’s perspective they just need sometimes
                to get some of it on the table and address some of the table. It’s important
                for them to do that as well. But I have never, and I don’t think anyone
                can cite to a single case in the sexual abuse context, where there has
                been anything that addresses or modifies 502 or 3001. I can’t remember
                one.

See May 18th Hr’g Tr. at 48:20-49:3, 49:20-50:1, 50:23-51:9 (emphasis added).

         20.    The Court agreed with the TCC’s counsel that a Court order cannot “wipe out” a

specific section of the “Rules of Bankruptcy Procedure.” Id. at 50:2-4. The Court went further

and stated: “There should be nothing in this order [granting the Bar Date Motion] which

deviates from the code. I’m going to permit a longer form of proof of claim form, but there

should be nothing on a substantive basis that deviates from what the code provides in this

order.” Id. at 71:10-14 (emphasis added).

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         21.    These statements would appear to reflect the Court’s expectation that the form of

order submitted to the Court would not violate section 502 of the Bankruptcy Code or

Bankruptcy Rule 3001. At no point during the May 18th hearing did the TCC’s counsel, the

Insurers’ counsel or the Debtors’ counsel state that the Bar Date Order would abrogate

Bankruptcy Rule 3001(b) in these Chapter 11 Cases in the context of precluding authorized

attorney signatures.

         22.    Had an agreement by the TCC with the Insurers and the Debtors to do so been

openly and clearly announced in Court (which it was not), the U.S. Trustee would or should have

objected. The U.S. Trustee contacted the Coalition’s counsel after this Motion of the Coalition

was filed. Mersky Decl. at Ex 1. The U.S. Trustee informed the Coalition that “the approved

POC [for Sexual Abuse Survivors] permits signature by the claimant’s legal representative.” Id.

         23.    According to the U.S. Trustee, “[t]he only requirement for a filing by a claimant’s

legal representative, set forth in the form, is … any form signed by a representative or legal

guardian must attach documentation establishing such person’s authority to sign this form for the

Sexual Abuse Survivor.” Id. On this basis, the U.S. Trustee demanded that the Coalition

withdraw its Motion as “unnecessary and moot,” stating that the “form is consistent with the

Rules, Official Form 410 and the local rules.” The U.S. Trustee initially thought the Coalition

was grandstanding rather than addressing a substantive issue.

         24.    But the Coalition was not grandstanding, and is, yet once again since its recent

entry into and participation in these cases, raising an issue to the Court that is of critical

significance to its members and to all Sexual Abuse Survivors. The objections filed by the TCC,

the Insurers and the Debtors all make it clear that their understanding is that the Sexual Abuse

Survivor Proof of Claim is not consistent with Rule 3001(b) and that, absent certain limited

exceptions, it cannot be signed by an authorized legal representative. The TCC, the Insurers and

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the Debtors further assert that this was their understanding all along and was the product of

negotiations among them. As in Energy Future, these parties—two of which are fiduciaries to

the abuse survivors—never clarified the record on this issue, creating confusion and a

misapprehension of critical facts. It follows that if Rule 3001(b) was wiped out by the Bar Date

Order in this regard, the Court can rectify the problem by simply granting the Motion so that

authorized legal counsel can sign claim forms for Sexual Abuse Survivors.

         B.      Rule 3001(b) Cannot Be Abrogated in a Mass Tort Bankruptcy

         25.     None of the objectors offer any authority for the proposition that the Court can

abrogate Rule 3001(b) in a mass tort bankruptcy. The Debtors and Century come the closest by

arguing that Courts can modify Official Form 410. The Debtors and Century both cite to A.H.

Robins Co., 862 F.2d 1092 (4th Cir. 1998), and Century also cites to In re Eagle-Picher

Industries, Inc., 158 B.R. 713, 716 (Bankr. S.D. Ohio 1993). The Debtors also reference orders

entered in other cases where Courts approved specialized claim forms for tort victims, including

forms that the Debtors assert provided “no option” for an attorney to sign on behalf of the

claimant. Debtors’ Objection at ¶ 12.

         26.     Neither A.H. Robins nor Eagle-Picher discussed the attorney signature rule or

found that a Bankruptcy Court can negate Rule 3001(b). None of the orders referenced by the

Debtors and Century, to the extent that they actually provide that attorneys cannot sign on behalf

of claimants,5 reflect any analysis of whether the Court intended to negate Rule 3001(b) or



5
    The Debtors also cite In re TK Holdings, Inc., Case No. 17-11375 (Bankr. D. Del. Oct. 4, 2017) [Docket No.
    959] and contend that the bar date order in that case provided that “proof of claim must be (sic) ‘be signed by
    the claimant or, of the claimant is not an individual, by an authorized agent of the claimant.’” Debtors’
    Objection at 9. But the proof of claim form for tort victims (airbag inflator related injuries) in TK Holdings
    permitted attorney signatures. See Mersky Decl. at Ex 2. Furthermore, no claim objections have been filed in
    TK Holdings asserting that any tort claims are invalid because the claim form was signed by authorized counsel
    as opposed to the tort victim.



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whether the order was entered without the issue being flagged by counsel for the debtors or the

official creditors’ committee.6

         27.     The TCC’s counsel is correct on one point—there is not a “single case in the

sexual abuse context[] where there has been anything that … modifies … [Rule] 3001.”

May 18th Hr’g Tr. at 50:23-51:9. The reason for this is obvious.

         28.     Bankruptcy Rule 3001(b) provides that a “proof of claim may shall7 be executed

by the creditor or the creditor’s authorized agent, except as provided in Rule 3004 and 3005.”

Fed. R. Bankr. P. 3001(b) (emphasis added). Neither Rule 3004 nor 3005 apply in this context.

Rule 3001(b) explicitly provides that a proof of claim filed by a Sexual Abuse Survivor in these

Chapter 11 Cases may be signed by authorized counsel. Id.

         29.     Bankruptcy Rule 3001(a) provides that a “proof of claim shall conform

substantially to the appropriate Official Form.” Fed. R. Bankr. P. 3001(a) (emphasis added).

Official Form 410 reflects Rule 3001(b) and expressly permits authorized legal counsel to sign

the form on behalf of a claimant.

         30.     Bankruptcy Rule 9009(a) provides that the “Official Forms prescribed by the

Judicial Conference of the United States shall be used without alteration, except as otherwise

provided in these rules.” Fed. R. Bankr. P. 9009(a) (emphasis added).




6
    The Century and the Debtors refer to orders entered in In re Archdiocese of New Orleans, Case No. 20-10846
    (Bankr. E.D. La. Oct. 1, 2020), and In re Diocese of Harrisburg, Case No. 1-20-bk-00599 (Bankr. M.D. Pa.
    May 6, 2020). Century Objection at 14-15; Debtors’ Objection at 8. The Official Committee of Unsecured
    Creditors in Archdiocese of New Orleans is represented by Pachulski Stang Ziehl & Jones LLP, counsel to the
    TCC in these cases. A party can just as easily cite to this Court’s Bar Date Order in opposition to a motion filed
    in the New Orleans case to require compliance with Rule 3001(b) as a party can cite to the bar date order in
    Archdiocese of New Orleans to support the same position in these Chapter 11 Cases. Both citations, however,
    would simply beg the question as to whether the Courts in these cases and Archdiocese of New Orleans
    comprehended the ploy to wipe out a specific provision in the Bankruptcy Rules.
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    This corrects the quote for Rule 3001(b) to insert the word “shall” in place of the word “may”.



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         31.     Rule 9009(a) goes onto state that “Official Forms may be modified to permit

minor changes not affecting wording or the order of presenting information, including changes

that: (1) expand the prescribed areas for responses in order to permit complete responses;

(2) delete space not needed for responses; or (3) delete items requiring detail in a question or

category if the filer indicates—either by checking “no” or “none” or by stating in words that

there is nothing to report on that question or category.” Id. (emphasis added).

         32.     Bankruptcy Rule 9009(a) was amended in 2017 to address modifications to the

Official Forms.     Fed. R. Bankr. P. 9009, 2017 Amendments.         As amended, Rule 9009(a)

“requires that an Official Form be used without alteration, except when another rule, the Official

Form itself, or the national instructions applicable to an Official Form permit alteration.” Id.

(emphasis added). The “former language” in Rule 9009(a), which permitted alterations, was

deleted in 2017, “but the rule preserves the ability to make minor modifications to an Official

Form that do not affect the wording or the order in which information is presented on a form.”

Id. (emphasis added).

         33.     Cases applying Rule 9009(a) post-amendment have held that any changes that

contravene the directions in an Official Form—e.g., the directions set forth in Part 3 of Official

Form 410 permitting a creditor’s attorney or authorized agent to sign the form—or the

Bankruptcy Rules are prohibited by Rule 9009(a). See In re Donnadio, 608 B.R. 507, 513

(B.A.P. 6th Cir. 2019) (“any modification [to Official Forms] must allow for the revisions to be

construed consistent with the Bankruptcy Code and the Bankruptcy Rules.”) (quotation omitted);

In re Diocese of Buffalo, N.Y., 2020 WL 5814203 at *5, ---- B.R. ---- (Bankr. W.D.N.Y. 2020)

(denying motion to approve customized claim form for sexual abuse victims because proposed




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alterations from Official Form 410 were “not minor” and were inconsistent with Rule 9009(a)

which, as amended in 2017, prohibits material alterations).8

         34.     Minor and non-substantive changes to the Official Form are permitted, including

changes that are consistent with the Bankruptcy Rules and make it easier for tort victims to

provide notice of their injuries to the Court and the Debtors. But this is not in the same ballpark

as negating the application of Rule 3001(b) and denying tort victims the right to have counsel

sign a claim form on their behalf. Such a change is material and, therefore, impermissible under

Rule 9009(a) and Rule 3001(b).

         35.     The Century and the Debtors cite to two post-amendment cases in the mass tort

context that purport to forbid signature by counsel. One of these, Diocese of Harrisburg, is

directly addressed in the Coalition’s Motion at paragraph 36: in that case, the debtor confronted

a sexual abuse scheme of limited geographic scope and assured the Court that it “believe[d] that

it ha[d] identified all known creditors, including Sexual Abuse Claimants.” Case No. 20-00599

(Bankr. M.D. Pa. 2020) (D.I. 223, para. 37). The debtor made an unrebutted factual assertion

that it had provided notice of its motion to each individual creditor, and the Court entered an

order approving a proof of claim form requiring creditor signature. Id. at D.I. 231. The Court’s

order setting the bar date in Diocese of Harrisburg was entered on May 6, 2020—twelve days

before the May 18th hearing on the Bar Date Motion in these cases. Id. at D.I. 291.

         36.     The other case mentioned by Century and the Debtors, Archdiocese of New

Orleans, is notable in that the bar date order in question was entered only two weeks ago—hours

after the filing of the Coalition’s Motion—following negotiations by the debtor with its

creditors committee, represented by Pachulski Stang Ziehl & Jones LLP, counsel to the TCC in

8
    The Official Committee of Unsecured Creditors in Diocese of Buffalo is also represented by Pachulski Stang
    Ziehl & Jones LLP, counsel to the TCC in these cases.



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these cases. See Case No. 20-10846 (Bankr. E.D. La.), D.I. 200 (motion), D.I. 202 (first

committee objection). TCC Counsel argued, citing testimony of Dr. Shannon Wheatman (the

Debtors’ current expert) among others, that “[t]his case is not like the typical chapter 11 case. In

the context of this case, where people were abused and then have lived often in silence for years

after the abuse,” creditors must be ensured of fair and adequate notice of limitations on their

rights. D.I. 412, para. 34. Nevertheless, TCC counsel did not object to the nullification of

Rule 3001(b) in that instance.

         37.     The TCC’s counsel was, thus, only partially correct when it argued to this Court

on May 18th that there is not a “single case in the sexual abuse context[] where there has been

anything that … modifies … [Rule] 3001.” May 18th Hr’g Tr. at 50:23-51:9. More accurately,

research reveals only one instance in which Rule 3001 was nullified to the detriment of creditors

without notice thereto, which instance occurred one week ago and many months after entry of

the Bar Date Order in these cases, and with TCC counsel’s apparent consent.

         38.     The TCC contends that negating Rule 3001(b) in these cases is important to the

TCC so that each claimant “stands-by the statements and representations being made” in the

claim form. TCC Objection at ¶ 16. Harford wants tort victims to sign the claim forms

themselves to ensure that the claims are “legitimate.” Hartford Objection at ¶ 15. Harford says

it will not accept proofs of claim signed by authorized counsel. Id. at ¶ 26. Century contends

that Sexual Abuse Survivors must sign the claim forms to ensure that “the veracity of

information” is “within their personal knowledge” and is “critically important.”           Century

Objection at 4, 7. The Debtors add that permitting authorized counsel to sign claim forms would

“undermine the integrity of the claims process” and attorneys that sign claim forms without

conducting a “reasonable investigation” could be “subject to sanctions.” Debtors’ Objection at

10-11. These statements are all meaningless.

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         39.     The Coalition is not seeking an order permitting counsel to sign claim forms

without conducting a reasonable investigation. Nor is the Coalition seeking an order that would

permit claims to be filed that are not legitimate or verified. Sexual Abuse Survivors should be

willing to stand by the statements made in their claims. The Coalition is simply asking that

Rule 3001(b) apply in these Chapter 11 Cases.

         40.     This is critical here to ensure that Sexual Abuse Survivors do not miss the Bar

Date, which is a real concern given the large volume of claims (which the Insurers certainly

would like to suppress), the anticipated pre-Bar Date activity resulting from the Debtors’ notice

program, and the impact of COVID-19.9 All Coalition is asking is that Sexual Abuse Survivors

be accorded the same rights of virtually every trade creditor and bondholder that has ever filed a

proof of claim in this District—the fact that a proof of claim is signed by authorized counsel will

not be grounds for objection.

         41.     In a moment of candor, Hartford states that negating Rule 3001(b) in these

Chapter 11 Cases is particularly important given the “uptick in filings” and the fact that the

“Coalition boasts that its representative firms alone assert more than 28,000 claims.” Harford

Objection at ¶ 15. A proof of claim is comparable to a “verified complaint.” In re Umstead, 490

B.R. 186, 194 fn. 10 (Bankr. E.D. Pa. 2013). The issue is what actions must victims take to

provide notice of their claims so as not to have their claims barred by the passage of the Bar

Date. All claims, including those filed by Sexual Abuse Survivors, will be thoroughly vetted. A

claimant need not produce volumes of evidence to file a proof of claim. The Insurers are simply

9
    The TCC, consistent with its remarkable silence in connection with the Debtors’ attorney advertising motion,
    stands still in its Unholy Alliance with the Insurers in support efforts to suppress Sexual Abuse Claims (thereby
    reducing the amount of Sexual Abuse Claims on what will be a limited pot). In this respect, Sexual Abuse
    claimants whose claims are already on file (or are have been prepared for and are awaiting timely filing) also
    have an economic interest in fewer additional claims being filed, which may explain why the TCC and the
    Insurers are fully aligned in their opposition to the Coalition’s Motion and in support of the Debtors’ efforts to
    suppress attorney advertising.



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playing the preclusion game—impose as many barriers as possible in order to avoid liability.

Such tactics have no place here given the horrific injuries suffered by Sexual Abuse Survivors.

         42.     As the TCC’s counsel stated, there is not a “single case in the sexual abuse

context[] where there has been anything that … modifies … [Rule] 3001.” May 18th Hr’g Tr. at

50:23-51:9. The TCC, the Insurers and the Debtors ask this Court to become the first to

expressly consider whether Rule 3001(b) can be wiped out in a mass tort bankruptcy and find

that such a material modification to the Official Form is perfectly acceptable notwithstanding the

2017 amendments to Rule 9009(a). There is no legitimate reason why Sexual Abuse Survivors

should face such treatment. Compliance with the Bankruptcy Rules should matter in chapter 11

cases and most certainly when the rights of victims of Sexual Abuse are at stake.

         C.      The Remaining Arguments Are Misplaced and Should be Rejected

         43.     The TCC, the Debtors, Hartford and particularly Century raise a host of other

objections that are incorrect or irrelevant.

         44.     First, Century argues that wiping out Rule 3001(b) in these Chapter 11 Cases with

respect to authorized attorney signatures is permissible because the TCC proposed claim form

permitted this to happen. Century Objection at 2-4. This does not prove or indicate that wiping

out Rule 3001(b) in these Chapter 11 Cases is permissible. Rather, it simply indicates that the

TCC and the Insurers are aligned on this issue, as they were on the Debtors’ attorney advertising

motion. This is one of the many reasons why the Coalition’s participation in these Chapter 11

Cases is essential.

         45.     Second, Century argues that negating authorized counsel’s ability to sign a claim

form was thoroughly considered. Century Objection at 5. The objections to the Motion admit

that negating Rule 3001(b) in these Chapter 11 Cases was thoroughly considered by the TCC, the

Insurers and the Debtors. But this does not mean that this objective was adequately and clearly

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disclosed to the Court or the U.S. Trustee. Even if this Court concludes due process has been

afforded to Sexual Abuse Survivors who were never given notice of a diminution of rights

granted by Rule 3001(b), the critical issue under Rule 60(b) remains whether this Court

understood this objective when it entered the Bar Date Order notwithstanding the representations

made by the TCC’s counsel as to the inviolable nature of Rule 3001. Energy Future, 575 B.R. at

631. What the Insurers understood is irrelevant.

         46.     Third, Century argues that permitting authorized counsel to sign a claim form is

not mandated by Rule 3001(b) because Rule 3001(b) permits the Court to “accept a creditor

signature or an authorized agent’s signature, not that it must, in all circumstances, accept both.”

Century Objection at 14. But the Coalition is not arguing that forms must be signed by both the

creditor and authorized counsel. Rule 3001(b) clearly does not mandate that all proofs of claim

be signed by authorized counsel.        Rule 3001(b) does mandate that authorized counsel be

permitted to sign proofs of claim. The TCC, the Insurers and the Debtors are all saying that the

Court should not accept a proof of claim executed by a Sexual Abuse Survivor’s authorized

agent. Rule 3001(b) states that a proof of claim may be executed by a creditor’s authorized

agent. This is why the Bar Date Order’s nullification of this right is a material change.

         47.     Fourth, Century argues that there is no Due Process violation because the interests

of all tort victims were represented by the TCC and the U.S. Trustee. Century Objection at 2, 16.

Apparently, the U.S. Trustee was not aware of the Rule 3001(b) violation until after the

Coalition filed its Motion. See Merksy Decl. at Ex. 1. But even putting this aside, neither the

TCC nor the U.S. Trustee represents any Coalition members individually.

         48.     The U.S. Trustee is supposed to advocate for compliance with the Bankruptcy

Rules, including Rule 3001(b). The TCC, as a fiduciary, is supposed to advocate for the interests

of tort victims. But neither represents them individually. The Coalition is not aware of a single

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case where a Court has ever suggested that notice to an official tort committee constitutes notice

to all tort victims individually. Were this the case, it would fundamentally alter notice programs

in mass tort bankruptcies and call into question if the Debtors’ notice program is even necessary,

which it obviously is.

         49.     Fifth, Century argues that removing the claimant signature requirement would

“creation confusion” among millions of individuals that have received notice of the Bar Date and

potentially require the Debtors to re-notice all such individuals. Century Objection at 12. But

the fact that the U.S. Trustee, after reviewing the Coalition’s Motion, thought that authorized

counsel can sign proofs of claim shows that the real confusion here is the fact that the TCC, the

Insurers and the Debtors agreed among themselves that Sexual Abuse Survivors could not have

their authorized counsel sign claim forms and failed adequately and clearly to inform the U.S.

Trustee and the Court of their agreement on this issue.

         50.     If experienced counsel representing the U.S. Trustee perceives ambiguity on this

issue, one can only wonder what non-bankruptcy attorneys and Sexual Abuse Survivors may

think. The Coalition is not asking the Court to require any further or additional notice if the

Motion is granted to make it clear the Bar Date Order does not materially negate important

aspects of Rule 3001(b) in these cases and that Sexual Abuse Survivor Proofs of Claim cannot be

objected to simply because they are signed by authorized counsel. If the Motion is denied,

however, a genuine question remains as to whether Sexual Abuse Survivors have been placed on

adequate notice that their authorized legal counsel cannot sign claim forms on their behalf and

whether a supplemental notice to all Sexual Abuse Survivors is necessary.

         51.     Sixth, Century argues that the majority of the Coalition’s firms have “provided no

evidence that they have the authority to act as their client’s authorized agents.”        Century

Objection at 15. This is incorrect and irrelevant. The Coalition is not asking the Court to permit

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counsel that is not authorized to do so to executed proofs of claim on behalf of Sexual Abuse

Survivors. The point here is that authorized counsel should be permitted to executed proofs of

claim on behalf of Sexual Abuse Survivors because this is what Rule 3001(b) expressly permits.

         52.     Seventh, Century argues that the Bar Date Order does not single out Sexual Abuse

Survivors and subject them to a higher standard because all individual claimants must sign the

proof of claim form. Century Objection at 18. But the relevant comparison is how tort victims

are being treated here relative to how nearly every trade creditor, bondholder, or other type of

claimant is treated in other bankruptcy cases pending in this District. The point is that tort

victims should not be treated worse than other claimants in this or any other proceeding.

         53.     Finally, Harford suggests that this is not a big deal—“anyone with access to (i) a

computer and printer, (ii) the internet, or (iii) a smart phone has access to at least one mechanism

(if not more) to ensure that their claim is filed timely.” Hartford Objection at ¶ 25. But the rules

matter. Process matters in bankruptcy and in other legal proceedings. Bankruptcy should not

involve litigation by ambush. Compliance with the Bankruptcy Rules and directions in the

Official Forms should matter. The attorney signature rule matters to Sexual Abuse Survivors

that will rely on their counsel for file proofs of claim on their behalf so that their right to

compensation is not barred. If it matters to only one Sexual Abuse Survivor, it matters.

         54.     And it should matter to this Court and the U.S. Trustee that counsel for the TCC,

the Insurers and the Debtors did not clearly raise this issue during the May 18th hearing—other

than the TCC’s assertion that wiping out specific provisions in the Bankruptcy Rules should not

happen. May 18th Hr’g Tr. at 49:20-50:4. The TCC has a fiduciary duty to tort victims and has

now informed that Court that it knowingly approved of a Bar Date Order that violates and is

inconsistent with Bankruptcy Rule 3001(b) and Official Form 410. To quote the TCC’s counsel:

“But I have never, and I don’t think anyone can cite to a single case in the sexual abuse context,

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where there has been anything that addresses or modifies 502 or 3001. I can’t remember one.”

Id. at 51:6-9. This case should not be the first.

                                          CONCLUSION

          WHEREFORE, the Coalition respectfully requests that the Court enter an order granting

the Motion and granting the Coalition such other and further relief as the Court deems just and

proper.


Dated: October 13, 2020                        MONZACK MERSKY
Wilmington, Delaware                           BROWDER & HOCHMAN, P.A.

                                               /s/ Rachel B. Mersky
                                               Rachel B. Mersky (DE No. 2049)
                                               1201 North Orange Street, Suite 400
                                               Wilmington, Delaware 19801
                                               Telephone:     (302) 656-8162
                                               Facsimile:     (302) 656-2769
                                               E-mail:        RMersky@Monlaw.com
                                                      -and-

                                               BROWN RUDNICK LLP
                                               David J. Molton, Esq.
                                               Eric R. Goodman, Esq. (admitted pro hac vice)
                                               Seven Times Square
                                               New York, NY 10036
                                               Telephone: (212) 209-4800
                                               E-mail: DMolton@BrownRudnick.com
                                               E-mail: EGoodman@BrownRudnick.com

                                                      -and-

                                               Sunni P. Beville, Esq. (admitted pro hac vice)
                                               Tristan G. Axelrod, Esq. (admitted pro hac vice)
                                               One Financial Center
                                               Boston, MA 02111
                                               Telephone: (617) 856-8200
                                               E-mail: SBeville@BrownRudnick.com
                                               E-mail: TAxelrod@BrownRudnick.com

                                               Co-Counsel to the Coalition of Abused Scouts for
                                               Justice
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